     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 1 of 11 Page ID #:419


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      Courtyards, LLC, and Jonathan Benabou, as Trustee
11    on behalf of The Mani Benabou Family Trust
12
                              UNITED STATES DISTRICT COURT
13
                            CENTRAL DISTRICT OF CALIFORNIA
14
15    NEWCASTLE COURTYARDS,                   Case No.: 2:23-cv-00104-JAK-AS
      LLC, a California limited liability
16
      company; JONATHAN                       EX PARTE APPLICATION FOR
17    BENABOU, as Trustee on behalf           ORDER APPROVING FORM OF AND
      of THE MANI BENABOU                     PUBLICATION OF SUMMONS;
18
      FAMILY TRUST; and ROES 1
19
                                              MEMORANDUM OF POINTS AND
      through 500,
                                              AUTHORITIES AND DECLARATION
20
         Plaintiffs and Petitioners,          OF JOHN M. HAYTOL IN SUPPORT
21                                            THEREOF
22       v.
23                                            [Filed concurrently with Proposed Order]
      CITY OF LOS ANGELES;                    Date:
24    COUNTY OF LOS ANGELES;
                                              Time:
25    COUNTY OF LOS ANGELES
      RECORDER’S OFFICE; DOES 1               Ctrm.: 10B
26    through 500,                            Judge: Hon. John A. Kronstadt
27                                            Action Filed: January 6, 2023
         and                                  Trial Date: None Set
28


                                                -1-
           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 2 of 11 Page ID #:420



 1    ALL PERSONS INTERESTED IN
      THE MATTER of the ULA and all
 2    proceedings related thereto,
 3
          Respondents and Defendants.
 4
 5
                                    EX PARTE APPLICATION
 6
 7
            Plaintiffs and Petitioners Newcastle Courtyards, LLC, and Jonathan Benabou, as
 8
      Trustee on behalf of The Mani Benabou Family Trust (“Plaintiffs”) hereby apply ex parte
 9
      for an order approving the form of, and the publication of the summons upon “All Persons
10
      Interested in The Matter of the ULA and all proceedings related thereto” a real property
11
      transfer tax.
12
            This ex parte application is made pursuant to Fed. R. Civ. P. Rule 4(e)(1), which
13
      allows service “following state law for serving a summons in an action brought in courts
14
      of general jurisdiction in the state where the district court is located or where service is
15
      made.” Cal. Code Civ. Proc. § 860 et seq. This application is made on the grounds that,
16
      as this suit includes a “reverse validation” action, Cal. Government Code section 50077.5
17
      requires Plaintiffs’ lawsuit to be brought as a reverse validation action against “all
18
      persons” pursuant to Cal. Code Civ. Proc. section 860 et seq. “All Persons Interested”
19
      must be specially notified per Cal. Code Civ. Proc. section 861, 861.1, and 863, which
20
      require specific additional language, a specific time for response based on the publication
21
      dates and, thus, a modified Summons. This is the same procedure which occurs in state
22
      court for issuance of a reverse validation summons for publication.
23
            Good cause exists to grant the relief sought on an ex parte basis because there is
24
      insufficient time for a regularly noticed motion to be heard and decided before Plaintiffs
25
      must publish the Summons. Pursuant to Cal. Code Civ. Proc. § 860 et seq., Plaintiffs are
26
      required to publish the Summons in a newspaper of general circulation once a week for
27
      three successive weeks and then file a proof of publication within 60 days after the initial
28


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           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 3 of 11 Page ID #:421



 1    complaint was filed. Because this action was filed on January 6, 2023, Plaintiff must file
 2    the proof of publication by March 7, 2023. As such, Plaintiffs will need to obtain an order
 3    for publication well before that date in order to effectuate the three-week publication and
 4    obtain a proof from the publisher. In light of this impending deadline, there is insufficient
 5    time to proceed by noticed motion and ex parte relief is therefore appropriate. In addition
 6    the state statute, Cal. Code Civ. Proc. Section 415.5, requires Court approval to serve a
 7    summons by publication, and that the party “All Persons Interested” cannot be served by
 8    other means.
 9          Plaintiffs’ application is based on this Ex Parte Application and the accompanying
10    Memorandum of Points and Authorities, the supporting Declaration of John M. Haytol,
11    the proposed Summons attached to the Proposed Order as Exhibit A, and such other or
12    further evidence and argument that may be presented at the time of the hearing on this
13    application.
14          Respectfully submitted,
15
16    DATED: February 10, 2023                COSTELL & ADELSON LAW CORPORATION
17
18
                                              By: ____________________________
19
                                                    Jeffrey Lee Costell
20                                                  Joshua S. Stambaugh
21
                                                    Sara M. McDuffie
                                                    Attorneys for Plaintiffs and Petitioners
22
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           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 4 of 11 Page ID #:422



 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2                                   STATEMENT OF FACTS
 3          Plaintiffs filed this Complaint on January 6, 2023 to, inter alia, invalidate Measure
 4    ULA. Known as the “Initiative Ordinance ULA,” Measure ULA of the November 8, 2022,
 5    ballot received 57.77% voter approval. Defendant City of Los Angeles declared Measure
 6    ULA approved by the voters on December 7, 2022 and is poised to impose its tax
 7    beginning on April 1, 2023. However, Measure ULA proposed a special transfer tax,
 8    which is not allowed under article XIIIA, section 4 of the California Constitution and Los
 9    Angeles City Charter section 450. Additionally, Measure ULA imposes a special transfer
10    tax on the “gross proceeds” of sales of properties, rather than net income or profits, based
11    upon false and misleading contentions by the proponents of Measure ULA that only
12    “millionaires and billionaires” would pay the tax. As such, the ULA special transfer tax
13    violates the 14th Amendment of the U.S. Constitution and the corresponding provision of
14    the California Constitution. Plaintiffs also contend that the ULA special transfer tax also
15    violates other provisions of both the State and Federal Constitutions, including, but not
16    limited to, the 5th Amendment, 1st Amendment, and Article 1, Section 10 of the U.S.
17    Constitution, as set forth in the Complaint.
18
19                                          ARGUMENT
20       A. Seeking an Order Ex Parte is Appropriate
21          Cal. Government Code section 50077.5 provides, “Chapter 9 (commencing with
22    Section 860) of Title 10 of Part 2 of the Code of Civil Procedure applies to any judicial
23    action or proceeding to validate, attack, review, set aside, void, or annul an ordinance or
24    resolution approved by the voters…that levies a special tax.” Since the “Initiative
25    Ordinance ULA” is a special tax, Cal. Code Civ. Proc. sections 860 et seq. apply to this
26    “reverse validation” action.
27
28


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           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 5 of 11 Page ID #:423



 1          Pursuant to Fed. R. Civ. P. Rule 4(e)(1), Plaintiffs are allowed to utilize the state
 2    procedures to effect service by publication upon “All Persons Interested” under California
 3    law and to utilize the specific required language within that proposed Summons.
 4          Code Civ. Proc. Section 861 provides that, “[j]urisdiction of all interested parties
 5    may be had by publication of summons pursuant to Section 6063 of the Government Code
 6    in a newspaper of general circulation designated by the court, published in the county
 7    where the action is pending and whenever possible within the boundaries of the public
 8    agency.” Section 861.1 requires that “[t]he summons shall be directed to ‘all persons
 9    interested in the matter of [specifying the matter].’” Cal. Government Code Section 6063
10    requires publication once a week for three weeks.
11          Section 863 provides that, “[i]n any such action the summons shall be in the form
12    prescribed in section 861.1 except that in addition to being directed to ‘all persons
13    interested in the matter of [specifying the matter],’ it shall also be directed to the public
14    agency.”
15          By statute, then, there is insufficient time to request approval of the form of and
16    publication of the summons required by this case using a regular noticed motion. Plaintiffs
17    must have time to contact the newspaper of general circulation once that selection is
18    approved by the court, and to schedule publication of the summons in the “legal notices”
19    section of the newspaper, to allow three weeks for publication, to obtain from the
20    newspaper a “proof of publication” and to file that proof with this court within the 60-day
21    time limit.
22          B.      The Proposed Form of Publication Satisfies the Statute.
23          As stated in 5 Phillips, et al. Federal Civil Procedure Before Trial ¶5:17.9 (2022)
24    “The notice to defendant must be in compliance with the service method utilized (e.g.,
25    notifying defendant how many days thereafter defendant must appear in the action).” The
26    Summons attached as Exhibit A to the Proposed Order complies with the service method
27    and procedure required by Code Civ. Proc. sections 861, 861.1, and 863.
28


                                                -4-
           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 6 of 11 Page ID #:424



 1          Code Civ. Proc Section 861 requires publication in “a newspaper of general
 2    circulation…published in the county where the action is pending and whenever possible
 3    within the boundaries of the public agency.” In this case, the Metropolitan News-
 4    Enterprise is a newspaper of general circulation covering the county where the action is
 5    pending and is within the boundaries of the public agency.
 6          Section 861.1 requires that except as stated in 861.1, “the summons shall be in the
 7    form prescribed in Section 412.20.”
 8           Section 412.20 requires the summons to include the following:
 9          (1)    The title of the court in which the action is pending.
10          (2)    The names of the parties to the action.
11          (3)    A direction that, to be heard, the defendant must file a written response to the
12    complaint within the time specified. (Section 861.1, in turn, provides that the time to
13    respond “shall be 10 or more days after the completion of publication of the summons.”)
14          (4)    A notice that, unless the defendant so responds, his or her default will be
15    entered upon application by the plaintiff, and the plaintiff may apply to the court for the
16    relief demanded in the complaint, which could result in garnishment of wages, taking of
17    money or property, or other relief. (Section 861.1, however, requires the summons to state
18    that “persons who contest the legality or validity of the matter will not be subject to
19    punitive action, such as wage garnishment or seizure of their real or personal property”.)
20          (5)    The following statement in boldface type: “You may seek the advice of an
21    attorney in any matter connected with the complaint or this summons. Such attorney
22    should be consulted promptly so that your pleading may be filed or entered within the time
23    required by this summons.”
24          (6)    The following introductory legend at the top of the summons, in boldface
25    type, in English and Spanish: “Notice! You have been sued. The court may decide against
26    you without your being heard unless you respond not later than March 17, 2023, which is
27    at least ten (10) days after completion of this summons. Read the information below.”
28


                                                -5-
           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 7 of 11 Page ID #:425



 1          The summons in this case must also state an exact date by which any interested
 2    person must respond, “which date shall be 10 or more days after the completion of
 3    publication of the summons.” (Cal. Code Civ. Proc. Section 861.1). Plaintiffs have
 4    determined that March 17, 2023, is at least 10 days after the completion date, and have
 5    listed that response date in the proposed Summons.
 6          The summons attached as Exhibit A to the proposed order meets all of the above
 7    requirements of section 412.20 as modified by section 861.1 for reverse validation actions
 8    under California law, and also complies with the requirements of Fed. R. Civ. P. Rule 4(a).
 9                                         CONCLUSION
10          To allow sufficient time for court approval of the form of and publication of
11    summons, publication of the summons per Cal. Government Code section 6063 and Code
12    Civ. Proc. section 861.1, and filing proof of publication within the 60-day statutory time
13    limit prescribed by Cal Code Civ. Proc. section 863, this ex parte application is necessary
14    in order to promptly notify All Persons Interested in Measure ULA, known as “Initiative
15    Ordinance ULA,” and to avoid the injury to plaintiffs of losing access to judicial review
16    on multiple state and U.S. constitutional law claims.
17          Accordingly, Plaintiffs request that this ex parte application for approval be granted.
18          Respectfully submitted,
19
20    DATED: February 10, 2023               COSTELL & ADELSON LAW CORPORATION
21
22
23
                                                    By: ____________________________
24                                                        Jeffrey Lee Costell
25
                                                          Joshua S. Stambaugh
                                                          Sara M. McDuffie
26                                                  Attorneys for Plaintiffs and Petitioners
27
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           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 8 of 11 Page ID #:426



 1                             DECLARATION OF JOHN M. HAYTOL
 2
 3          I, John M. Haytol, hereby declare as follows:
 4          1.     I am an attorney with the law firm Costell & Adelson Law Corporation,
 5    attorneys of record in this action for Plaintiffs and Petitioners Newcastle Courtyards, LLC,
 6    and Jonathan Benabou, as Trustee on behalf of The Mani Benabou Family Trust
 7    (“Plaintiffs”). I know the following of my own personal knowledge, and if called as a
 8    witness, I could and would competently testify thereto under oath.
 9          2.     This action was filed on January 6, 2023 by filing a complaint, which
10    included a reverse validation action pursuant to Cal. Code Civ. Proc. §§ 860 et seq. In
11    order to comply with the service requirements of Cal. Code Civ. Proc. §§ 860 et seq.,
12    Plaintiff is required to publish the Summons in a newspaper of general circulation once a
13    week for three successive weeks pursuant to Cal. Government Code § 6063 and then file
14    a proof of publication within 60 days after filing the complaint. To meet this deadline,
15    Plaintiff must obtain an order for publication of the Summons as soon as possible and
16    begin publication of the Summons. As Plaintiffs have just filed an amended complaint,
17    there is insufficient time to bring a regularly noticed motion to comply with the relevant
18    deadlines.
19          3.     Because this case involves a reverse validation action, the Summons must
20    comply with the requirements of Cal. Code Civ. Proc. § 861.1 which differ from the
21    regular California Judicial Council form Summons (SUM-100) and the Federal Rule 4
22    form (AO-440). Accordingly Plaintiff, by this ex parte application, seeks an order granting
23    service by publication under Cal. Code Civ. Proc. Section 415.50 and approval of the
24    proposed form of published summons.
25          4.     A true and correct copy of the proposed summons by publication is attached
26    to the accompanying Proposed Order as Exhibit A and incorporated herein by reference.
27    As noted in the proposed Summons, the date for response is March 17, 2023, a date more
28    than ten (10) days after the expected completion of publication.


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           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 9 of 11 Page ID #:427



 1          5.      I visited the website of the Metropolitan News-Enterprise and found that it is
 2    a daily legal newspaper that has been in circulation for 121 years. I also visited the Los
 3    Angeles County Clerk’s website at https://www.lavote.gov/home/county-clerk/fictitious-
 4    business-names/publication and found that the Metropolitan News-Enterprise is listed
 5    among the accepted and adjudicated newspapers of general circulation. Accordingly, it
 6    should provide notice to “All Persons Interested in the Matter of the ULA and all
 7    proceedings related thereto.”
 8          6.      On February 10, 2023, at 4:57 p.m., I sent an email to Dan Whitley, Deputy
 9    City Attorney, (213) 978-7786, daniel.whitley@lacity.org, who had previously informed
10    that his office was handling this matter, informing Mr. Whitley of this ex parte application
11    and the requested relief. As of time this Application was filed, I received a response from
12    Mr. Whitley, but he did not indicate any opposition to the application or the requested
13    relief. A true and correct copy of that email exchange is attached hereto as Exhibit 1 and
14    incorporated herein by reference.
15          I declare under penalty of perjury of the laws of the State of California that the
16          foregoing is true and correct. Executed in Santa Monica, California on February 10,
17          2023.
18
19
20
                                              _________________________________
21                                                   John M. Haytol
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           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
     Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 10 of 11 Page ID #:428



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26                                   Exhibit 1
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                                                -9-
           EX PARTE APPLICATION FOR ORDER APPROVING FORM OF AND PUBLICATION OF SUMMONS
        Case 2:23-cv-00104-JAK-AS Document 15 Filed 02/10/23 Page 11 of 11 Page ID #:429
Re: Ex parte application for approval of and publication of summons in Federal action
John Haytol <jhaytol@costell-law.com>
Fri 2/10/2023 5:28
              6:28 PM
To: Dan Whitley <daniel.whitley@lacity.org>;Castella, J. Leah <LCastella@bwslaw.com>;Siegel, Kevin D.
<KSiegel@bwslaw.com>
I don't know if Jeﬀ men�oned that we were ﬁling an amended federal complaint and pe��on, that was ﬁled earlier
today; that complaint will be served. Do you have any opposi�on to the requested relief?

thanks, best, John Haytol

From: Dan Whitley <daniel.whitley@lacity.org>
Sent: Friday, February 10, 2023 4:59
                                 5:59 PM
To: Castella, J. Leah <LCastella@bwslaw.com>; John Haytol <jhaytol@costell-law.com>; Siegel, Kevin D. <KSiegel@bwslaw.com>
Subject: Re: Ex parte applica�on for approval of and publica�on of summons in Federal ac�on

Thank you for letting me know. I look forward into seeing the pleadings!

On Fri, Feb 10, 2023 at 4:57 PM John Haytol <jhaytol@costell-law.com> wrote:
  Mr. Whitley, good a�ernoon, hope all is well.

  I know that you indicated that the City is in the process of obtaining outside counsel, and you are handling this
  case at least for the moment.

  I am wri�ng to inform you that our clients, Newcastle Courtyards, LLC, et al. will apply ex parte to the Hon. John
  Kronstadt, USDJ, for an order approving the form and publica�on of summons. This is per FRCP Rule 4(e)(1) and
  Code of Civil Procedure sec�ons 861, 861.1 and 863, as the special summons must be published three �mes in a
  newspaper of general circula�on pursuant to Govt. Code sec�on 6063.

  I expect to have the papers ﬁled shortly and will copy you once ﬁled.

  Please contact me through this email with your response. Thank you for your �me and courtesy in this regard,
  best, John Haytol
--
Daniel M. Whitley
Deputy City Attorney
Public Finance/Economic Development
Tel: (213) 978-7786
Fax: (213) 978-7811



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